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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


CONNIE SHIVNER,

       Plaintiff,

v.                                                             CV No. 20-497 RB/CG

CORRVALUES, LLC, et al.,

       Defendants.

                    ORDER GRANTING WITHDRAWAL OF COUNSEL

       THIS MATTER is before the Court on the unopposed Motion to Withdraw as

Counsel (the “Motion”), (Doc. 74), filed by Plaintiff’s counsel on October 14, 2021. In the

Motion, Plaintiff’s counsel asks to withdraw as counsel, explaining that “Plaintiff, Connie

Shivner, no longer wishes for Lopez, Dietzel, & Perkins, P.C. to represent her in this

matter[,]” and that she “intends to proceed pro se in this matter.” Id. at 1. The Motion

also provides Ms. Shivner’s telephone number and address. Id. The Court, having

reviewed the Motion, noting that it is unopposed and that it comports with District of

New Mexico Local Rule 83.8, finds the Motion is well-taken and shall be GRANTED.

       IT IS THEREFORE ORDERED that Lopez, Dietzel, & Perkins, P.C. (William

Perkins) are withdrawn as counsel for Plaintiff.

       IT IS FURTHER ORDERED that Ms. Shivner is deemed pro se in this matter.

       IT IS SO ORDERED.


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                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
